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                                    Certificate of Service Page 1 of 2

   210B (12/09)


                               United States Bankruptcy Court
                                              Eastern District of Virginia
                                              Case No. 10-37875-KRH
                                                     Chapter 13

   In re: Debtor(s) (including Name and Address)

   John Edward Small
   2408 Bainbridge Street
   Richmond VA 23225



                                      NOTICE OF TRANSFER OF CLAIM

   Claim No. __________         was filed or deemed filed under 11 U.S.C. § 1111(a) in this
   case by the alleged transferor. As evidence of the transfer of that claim, the transferee
   filed a Transfer of Claim in the clerk’s office of this court on 02/18/2011 (date).




   Name and Address of Alleged Transferor:                           Name and Address of Transferee:
   Claim No. 3: Fia Card Services, NA As Successor In Interest to,   eCAST Settlement Corporation
   Bank of America NA and Mbna America Bank, 1000 Samoset Drive,     POB 29262
   DE5-023-03-03, Newark, DE 19713                                   New York NY 10087-9262




                               -- DEADLINE TO OBJECT TO TRANSFER --
   The alleged transferor of the claim is hereby notified that objections must be filed with
   the court within twenty-one (21) days of the mailing of this notice. If no objection is
   timely received by the court, the transferee will be substituted as the original claimant
   without further order of the court.


   Date:    02/24/11                                             William C. Redden
                                                                 CLERK OF THE COURT
         Case 10-37875-KRH              Doc 17 Filed 02/24/11 Entered 02/25/11 00:42:45                               Desc Imaged
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                                CERTIFICATE OF NOTICE
 District/off: 0422-7                  User: jonesd                       Page 1 of 1                          Date Rcvd: Feb 22, 2011
 Case: 10-37875                        Form ID: trc                       Total Noticed: 1

 The following entities were noticed by first class mail on Feb 24, 2011.
 10130565     +Fia Card Services, NA As Successor In Interest to,   Bank of America NA and Mbna America Bank,
                1000 Samoset Drive,   DE5-023-03-03,   Newark, DE 19713-6000
 The following entities were noticed by electronic transmission.
 NONE.                                                                                                               TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Feb 24, 2011                                       Signature:
